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15    Attorneys for Defendant YASIEL PUIG
16                      IN THE UNITED STATES DISTRICT COURT
17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
       JANE ROE,                                 Case No. 2:20-cv-11064-FMO-MRW
19                  Plaintiff,
20     V.                                        The Honorable Fernando M Olguin
21     YASIEL PUIG, and DOES 1- 10,              JOINT NOTICE OF SETTLEMENT
       inclusive,
22                Defendants.                    F AC Filed: Dec. 30, 2020
23                                               Trial date: May 3, 2022
24     AND CROSS ACTION
25

26          Pursuant to FRCP Rule 41(a)(l)(A)(ii) and Local Rules 16-15.7 and 40-2, Plaintiff
2T'   and Counter-Defendant JANE ROE ("Plaintiff) and Defendant and Counterclaimant
28//VASIEL PUIG ("Defendant") (hereinafter, "the Parties"), jointly notify the court that a

                                    JOINT NOTICE OF SETTLEMENT
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 1 full settlement has been reached in the above-captioned case. The Parties, therefore, apply

 2   to this Honorable Court to enter an order vacating all currently set proceedings with the
 3   expectation that the Parties' Joint Stipulation for Dismissal with prejudice as to all parties
 4 will be filed within 31 days of the entry of such an order.

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     DATED: October 27, 2021                                MANLY STEWART FINALDI1
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10                                                                 VINCE FINAL
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                                                                   Defendant Jane Roe
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15
     DATED: October 28, 2021                                LESOWITZ GEBELIN LLP
16
17                                                          By:
                                                                   STEVEN GEBELIN
18                                                                 SCOTT LESOWITZ
19                                                                 Attorneys for Defendant and
                                                                   Counterclaimant Y asiel Puig
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28   1
      Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document, hereby attests that all other signatories listed, and on
     whose behalf the filing is submitted, concur with the contents of this filing and have so authorized this filing.
                                                                     2
                                                 JOINT NOTICE OF SETTLEMENT
